                                  Case 19-10729-MFW                   Doc 1       Filed 04/01/19            Page 1 of 39


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Orchids Paper Products Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  201 Summit View Drive, Suite 110
                                  Brentwood, TN 37027
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Williamson                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4826 Hunt Street Pryor, OK 74361
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.orchidspaper.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Orchids Paper Products Company                                                             Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3222

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                               Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Orchids Paper Products Company                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                                                                     50,001-100,000
                                                                                 5001-10,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Orchids Paper Products Company                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 1, 2019
                                                  MM / DD / YYYY


                             X   /s/ Richard S. Infantino                                                 Richard S. Infantino
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Strategy Officer




18. Signature of attorney    X   /s/ Christopher A. Ward                                                   Date April 1, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Christopher A. Ward
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1101
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 252-0920                Email address      cward@polsinelli.com

                                 3877 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Orchids Paper Products Company                                                   Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                   Chapter     11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Orchids Lessor SC, LLC                                                  Relationship to you               Affiliate
District   Delaware                                   When     4/01/19             Case number, if known
Debtor     Orchids Paper Products Company of South Carolina                        Relationship to you               Affiliate
District   Delaware                                   When     4/01/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       Orchids Paper Products Company                                                               Case No.
                                                                                Debtor(s)                 Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-32596 .

2. The following financial data is the latest available information and refers to the debtor's condition on            2/28/2019    .

 a. Total assets                                                                                     $                322,061,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                260,864,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0
 secured                 unsecured                   subordinated                $                        0.00                                    0

 d. Number of shares of preferred stock                                                                         0                                    0

 e. Number of shares common stock                                                                     10,670,348                                 175
    Comments, if any:


3. Brief description of Debtor's business:
   Orchids Paper is a leading manufacturer of paper towels, bath tissue, and paper napkins. Orchids Paper provides a range of
   products, including AFH (Away from Home), branded, and private label, in retail and commercial markets.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   BML Investment Partners, L.P.




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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 Fill in this information to identify the case:

 Debtor name         Orchids Paper Products Company

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               List of Equity Security Holders
                                                                           Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 1, 2019                           X /s/ Richard S. Infantino
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard S. Infantino
                                                                       Printed name

                                                                       Interim Chief Strategy Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name        Orchids Paper Products Company , et al.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                      Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.
Name of creditor and              Name, telephone number Nature of claim (for            Indicate if claim   Amount of claim
complete mailing address,         and email address of   example, trade debts,            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code                creditor contact       bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                         professional services,              disputed        value of collateral or setoff to calculate unsecured claim.
                                                         and government                                      Total claim, if            Deduction for value        Unsecured claim
                                                         contracts)                                          partially secured          of collateral or setoff
Brenntag Southwest                                               Trade debt                                                                                               $44,068.00
Inc.                              gholmes@brennta
5702 E. Channel                   g.com
Road                              918-245-6666
Catoosa, OK 74015
Cellmark Paper                                                   Trade debt                                                                                             $200,653.00
Inc.                              dominick.merole@
80 Washington St                  cellmark.com
Norwalk, CT 06854                 203-251-9026
Chem Treat Inc.                                                  Trade debt                                                                                             $201,049.00
15045 Collections                 cs_orders@chemtr
Center Drive                      eat.com
Chicago, IL 60693                 918-376-9717
CMPC USA, Inc.                                                   Trade debt                                                                                             $445,218.00
1040 Crown Pointe                 barrym@lfpcorp.co
Parkway                           m
Suite 950                         770-551-2648
Atlanta, GA 30338
Dixie Pulp & Paper                                               Trade debt                                                                                           $1,646,563.00
101 Marina Drive                  claird@dixiepaper.
Tuscaloosa, AL                    com
35406                             205-759-2600
Fabio Perini North                                               Trade debt                                                                                               $57,314.00
America, Inc.                     tonia.kielpikowski
3060 South Ridge                  @fabioperini.com
Road                              920-336-5000
Green Bay, WI 54304
Fabrica De Papel                                                 Trade debt                                                                                           $4,395,044.00
San Francisco,                    mariano.robles@pa
S.A.                              pelsanfrancisco.co
237 Rockwood Ave                  m
Suite 120                         877-567-1789
Calexico, CA 92231
Green Bay                                                        Trade debt                                                                                             $195,356.00
Packaging                         jbarta@gbp.com
1700 N Webster                    918-446-3341
Court
Green Bay, WI 54302

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Orchids Paper Products Company, et al.                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Henkel Adhesives                                                Trade debt                                                                                             $121,978.00
 1 Henkel Way                    bill.beaton@henkel
 Rocky Hill, CT                  .com
 06067-3581                      888-480-1171
 Little Rapids Corp.                                             Trade debt                                                                                           $1,204,994.00
 2273 Larson Drive               bburatti@littlerapid
 Green Bay, WI 54303             s.com
                                 360-335-0537
 M3 Construction,                                                Trade debt                                                                                               $56,875.00
 Inc.                            heather.overturf@
 432 East 50th Street            m3gc.com
 Savannah, GA 31405              800-912-6173
 Motion Industries                                               Trade debt                                                                                             $278,066.00
 13685 E. 61st Street            tammy.gomillion@
 Broken Arrow, OK                motion-ind.com
 74012                           918-459-6919
 Packaging                                                       Trade debt                                                                                             $196,611.00
 Corporation of                  dburger@packagin
 America                         gcorp.com
 3200 Lakewood                   803-405-6316
 Avenue, SW
 Atlanta, GA 30344
 Peco Pallet, Inc.                                               Trade debt                                                                                               $60,932.00
 2990 Momentum                   faguirre@pecopalle
 Place                           t.com
 Chicago, IL                     914-376-5444
 60689-5329
 Quality Plus                                                    Trade debt                                                                                             $206,957.00
 Services Inc.                   stevenb1@qpsisbe
 2929 Quality Drive              st.com
 Petersburg, VA                  804-863-0191
 23805
 Rexel USA Inc.                                                  Trade debt                                                                                               $56,352.00
 14951 Dallas                    blaine.howard@rex
 Parkway                         elusa.com
 Dallas, TX 75254                918-647-8185
 Solenis LLC                                                     Trade debt                                                                                             $202,665.00
 3 Beaver Valley                 nchoruzy@solenis.
 Road                            com
 Suite 500                       318-652-1229
 Wilmington, DE
 19803
 Sun Chemical                                                    Trade debt                                                                                             $101,772.00
 Corporation                     arremit@sunchemi
 5000 Spring Grove               cal.com
 Avenue                          866-786-8144
 Cincinnati, OH
 45232




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Orchids Paper Products Company, et al.                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TMC North America                                               Trade debt                                                                                             $102,390.00
 Inc.                            info@tmcna.com
 3116 North Pointer              920-830-9723
 Road
 Appleton, WI
 54911-8602
 Trebor Inc.                                                     Trade debt                                                                                             $135,600.00
 100 Matawan Road                pstairiker@trebor.c
 Suite 220                       om
 Matawan, NJ 07747               732-335-4255




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                     PAPER PRODUCTS COMPANY
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                                                              LIST OF EQUITY SECURITY HOLDERS


                 Equity Holders                                  Address of Equity Holder          Type of Equity Security      Holding
                                              156 SOUTH FIRST STREET
BRADEN M LEONARD (BML INVESTMENT PARTNERS,
                                              ZIONSVILLE, IN 46077                              Common Stock                 Greater than 5%
L.P.)
                                              US
                                              4400 BISCAYNE BOULEVARD
                                              12TH FLOOR
LADENBURG THALMANN FINANCIAL SERVICES INC.                                                      Common Stock                  Less than 5%
                                              MIAMI, FL 33137
                                              US
                                              645 MADISON AVENUE
                                              16TH FLOOR
VIRTU FINANCIAL LLC                                                                             Common Stock                  Less than 5%
                                              NEW YORK, NY 10022
                                              US
                                              55 NEW BOND STREET
                                              1ST FLOOR
LMR PARTNERS LLP                                                                                Common Stock                  Less than 5%
                                              LONDON W1S 1DG
                                              UK
                                              ONE POST OFFICE SQUARE
                                              20TH FLOOR
GEODE CAPITAL MANAGEMENT, LLC                                                                   Common Stock                  Less than 5%
                                              BOSTON, MA 02109-2804
                                              US
                                              75 STATE STREET
                                              24TH FLOOR
LPL FINANCIAL LLC                                                                               Common Stock                  Less than 5%
                                              BOSTON, MA 2109
                                              US
                                              140 BROADWAY
                                              38TH FLOOR
ALPINE GLOBAL MANAGEMENT, LLC                                                                   Common Stock                  Less than 5%
                                              NEW YORK, NY 10005
                                              US
                                              120 WEST 45TH STREET, TOWER 45
                                              39TH FLOOR
D. E. SHAW & CO., INC                                                                           Common Stock                  Less than 5%
                                              NEW YORK, NY 10036
                                              US
                                              DIMENSIONAL PLACE 6300 BEE CAVE ROAD
                                              BUILDING ONE
DIMENSIONAL FUND ADVISORS LP                                                                    Common Stock                  Less than 5%
                                              AUSTIN, TX 78746
                                              US
                                              TAUNUSANLAGE 12
                                              FRANKFURT AM MAIN
DEUTSCHE BANK AG\                                                                               Common Stock                  Less than 5%
                                              HESSEN 60325
                                              GERMANY
                                              LINCOLN PLAZA EAST 400 Q STREET
                                              ROOM 1820
CALIFORNIA PUBLIC EMPLOYEES RETIREMENT SYSTEM                                                   Common Stock                  Less than 5%
                                              SACRAMENTO, CA 95811
                                              US
                                              233 SOUTH DETROIT AVENUE
                                              SUITE 100
PINNACLE HOLDINGS, LLC                                                                          Common Stock                  Less than 5%
                                              TULSA, OK 74120
                                              US
                                              800 NORTH WATTERS ROAD
                                              SUITE 120
FINANCIAL GRAVITY WEALTH, INC.                                                                  Common Stock                  Less than 5%
                                              ALLEN, TX 75013
                                              US
                                              800 NORTH WATTERS ROAD
                                              SUITE 150
FINANCIAL GRAVITY COMPANIES, INC.                                                               Common Stock                  Less than 5%
                                              ALLEN, TX 75013
                                              US
                                              1735 MARKET STREET
                                              SUITE 1800
BRANDYWINE GLOBAL INVESTMENT MANAGEMENT, LLC                                                    Common Stock                  Less than 5%
                                              PHILADELPHIA, PA 19103
                                              US
                                              TWO PEACHTREE POINTE - 1555 PEACHTREE STREET
                                              SUITE 1800
INVESCO LTD.                                                                                    Common Stock                  Less than 5%
                                              ATLANTA, GA 30309
                                              US
                                              1214 EAST GREEN STREET
                                              SUITE 200
FIRST WILSHIRE SECURITIES MANAGEMENT INC                                                        Common Stock                  Less than 5%
                                              PASADENA, CA 91106
                                              US
                                              2800 NORTH CENTRAL AVENUE
                                              SUITE 2100
ADVISOR GROUP, INC.                                                                             Common Stock                  Less than 5%
                                              PHOENIX, AZ 85392
                                              US
                                              230 S. LASALLE ST.
                                              SUITE 4-100
SIMPLEX TRADING, LLC                                                                            Common Stock                  Less than 5%
                                              CHICAGO, IL 60604
                                              US
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                                                               LIST OF EQUITY SECURITY HOLDERS


                    Equity Holders                                 Address of Equity Holder         Type of Equity Security     Holding
                                                220 MONTGOMERY STREET
                                                SUITE 450
ASSET DEDICATION, LLC                                                                            Common Stock                 Less than 5%
                                                SAN FRANCISCO, CA 94104
                                                US
                                                1299 4TH STREET
                                                SUITE 502
EQIS CAPITAL MANAGEMENT, INC.                                                                    Common Stock                 Less than 5%
                                                SAN RAFAEL, CA 94901
                                                US
                                                100 VANGUARD BOULEVARD
                                                V26
VANGUARD GROUP INC                                                                               Common Stock                 Less than 5%
                                                MALVERN, PA 19355
                                                US
                                                3030 NORTH ROCKY POINT DRIVE
                                                WEST SUITE 700
IFP ADVISORS, INC                                                                                Common Stock                 Less than 5%
                                                TAMPA, FL 33607
                                                US
                                                BOFA CORPORATE CENTER - 100 NORTH TRYON STREET
BANK OF AMERICA CORP /DE/                       CHARLOTTE, NC 28255                              Common Stock                 Less than 5%
                                                US
                                                129 RUE SAINT JACQUES
BANK OF MONTREAL /CAN/                          MONTREAL, QC H2Y 1L6                             Common Stock                 Less than 5%
                                                CANADA
                                                240 GREENWICH STREET
BANK OF NEW YORK MELLON CORP                    NEW YORK, NY 10286                               Common Stock                 Less than 5%
                                                US
                                                1 CHURCHILL PLACE
BARCLAYS PLC                                    LONDON E14 5HP                                   Common Stock                 Less than 5%
                                                UK
                                                55 EAST 52ND STREET
BLACKROCK INC.                                  NEW YORK, NY 10055                               Common Stock                 Less than 5%
                                                US
                                                555 CROTON ROAD
BNP PARIBAS ARBITRAGE, SA                       KING OF PRUSSIA, PA 19046                        Common Stock                 Less than 5%
                                                US
                                                ONE BEACON STREET, 30TH FLOOR
BOSTON PARTNERS                                                                                  Common Stock                 Less than 5%
                                                BOSTON, MA 02108
                                                388 GREENWICH STREET
CITIGROUP INC                                   NEW YORK, NY 10013                               Common Stock                 Less than 5%
                                                US
                                                2704 S. GOYER RD
CREATIVE FINANCIAL DESIGNS INC /ADV             KOKOMO, IN 46902                                 Common Stock                 Less than 5%
                                                US
                                                16531 BOLSA CHICA STREET
HUNTINGTON NATIONAL BANK                        HUNTINGTON BEACH, CA 92649                       Common Stock                 Less than 5%
                                                US
                                                1636 LOGAN STREET
INVESTORS RESEARCH CORP                         DENVER, CO 80203                                 Common Stock                 Less than 5%
                                                US
                                                200 BLOOR STREET EAST
MANUFACTURERS LIFE INSURANCE COMPANY, THE       TORONTO, ON M4W 1E5                              Common Stock                 Less than 5%
                                                CANADA
                                                1585 BROADWAY
MORGAN STANLEY                                  NEW YORK, NY 10036                               Common Stock                 Less than 5%
                                                US
                                                320 PARK AVENUE
MUTUAL OF AMERICA CAPITAL MANAGEMENT LLC        NEW YORK, NY 10022                               Common Stock                 Less than 5%
                                                US
                                                57 US HIGHWAY 1
NJ STATE EMPLOYEES DEFERRED COMPENSATION PLAN                                                    Common Stock                 Less than 5%
                                                NEW BRUNSWICK, NJ 08901-8554
                                                50 SOUTH LA SALLE STREET
NORTHERN TRUST CORP                             CHICAGO, IL 60603                                Common Stock                 Less than 5%
                                                US
                                                OXAM HOUSE - 6 GEORGE STREET
OXFORD ASSET MANAGEMENT LLP                     OXFORD OX1 2BW                                   Common Stock                 Less than 5%
                                                UK
                                                TWO AMERICAN LANE
PALOMA PARTNERS MANAGEMENT CO                   GREENWICH, CT 06836-2571                         Common Stock                 Less than 5%
                                                US
                                                2801 HIGHWAY 280 SOUTH
PROEQUITIES, INC.                               BIRMINGHAM, AL 35223                             Common Stock                 Less than 5%
                                                US
                                                880 CARILLON PARKWAY
RAYMOND JAMES & ASSOCIATES                      ST. PETERSBURG, FL 33716-1102                    Common Stock                 Less than 5%
                                                US
                                                200 BAY STREET
ROYAL BANK OF CANADA                            TORONTO, ON M5J 2J5                              Common Stock                 Less than 5%
                                                CANADA
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                                          6550 NORTH FEDERAL HWY 510
SOUND INCOME STRATEGIES, LLC              FORT LAUDERDALE, FL 33308-1417                     Common Stock                 Less than 5%
                                          US
                                          BAHNHOFSTRASSE 45 PO BOX
UBS GROUP AG                              ZURICH 8001                                        Common Stock                 Less than 5%
                                          SWITZERLAND
                                          500 COLONIAL CENTER PKWY
                                           #100
DAWN PAGLIARO                                                                                Common Stock
                                          LAKE MARY , FL 32746
                                          US
                                          C/O BROADRIDGE
                                          51 MERCEDES WAY
ISSUER SERVICES                                                                              Common Stock
                                          EDGEWOOD , NY 11717
                                          US
                                          901 EAST CARY ST
                                          11TH FLOOR
KIM NIEDING                                                                                  Common Stock
                                          RICHMOND , VA 23219
                                          US
                                          14201 DALLAS PKWY
                                          12TH FL CORP ACTIONS DEPT
MARCIN BIEGANSKI                                                                             Common Stock
                                          DALLAS , TX 75254
                                          US
                                          3 SECOND ST.
                                          12TH FLOOR, HARBORSIDE PLAZA 10
RONALD FIGUERAS                                                                              Common Stock
                                          JERSEY CITY, NJ 07302
                                          US
                                          1271 AVENUE OF THE AMERICAS
                                          14TH FLOOR
JOHN ROSENBACH                                                                               Common Stock
                                          NEW YORK , NY 10020
                                          US
                                          222 BERKELEY STREET
                                          15TH FLOOR
GW&K INVESTMENT MANAGEMENT, LLC                                                              Common Stock
                                          BOSTON, MA 02116
                                          US
                                          777 E. WISCONSIN AVENUE
                                          19TH FLOOR
JAN SUDFELD                                                                                  Common Stock
                                          MILWAUKEE , WI 53202
                                          US
                                          1525 WW T HARRIS BLVD
                                          1ST FLOOR
ROBERT MATERA                                                                                Common Stock
                                          CHARLOTTE , NC 28262-8522
                                          US
                                          C/O MEDIANT COMMUNICATIONS INC
                                          200 REGENCY FOREST DRIVE
MARK F. GRESS                                                                                Common Stock
                                          CARY , NC 27518
                                          US
                                          99 SUMMER STREET
                                          20TH FLOOR
FRONTIER CAPITAL MANAGEMENT CO., LLC                                                         Common Stock
                                          BOSTON, MA 02110
                                          US
                                          40 KING STREET
                                          23RD FLOOR
LUISA DOMINGUES                                                                              Common Stock
                                          TORONTO, ON M5H 1H1
                                          CANADA
                                          40 KING STREET W
                                          23RD FLOOR
LILIAN NIE                                                                                   Common Stock
                                          TORONTO, ON M5H 1H1
                                          CANADA
                                          140 BROADWAY
                                          29TH FLOOR
DANIEL HANUKA                                                                                Common Stock
                                          NEW YORK , NY 10005
                                          US
                                          ONE DALLAS CENTER
                                          350 M. ST. PAUL SUITE 1300
BRIAN DARBY                                                                                  Common Stock
                                          DALLAS , TX 75201
                                          US
                                          77 BLOOR STREET WEST
                                          3RD FLOOR
YOUSUF AHMED                                                                                 Common Stock
                                          TORONTO, ON M4Y 2T1
                                          CANADA
                                          265 FRANKLIN STREET
                                          4TH FLOOR
CADENCE CAPITAL MANAGEMENT, LLC                                                              Common Stock
                                          BOSTON, MA 02110-3113
                                          US
                                          111 CENTER STREET
                                          4TH FLOOR
LINDA THOMPSON                                                                               Common Stock
                                          LITTLE ROCK, AR 72201-4402
                                          US
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                                          1100 ABERNATHY ROAD
                                          500 NORTHPARK BUILDING SUITE 400
TONIE MONTGOMERY                                                                             Common Stock
                                          ATLANTA , GA 30328
                                          US
                                          C/O BROADRIDGE
                                          51 MERCEDES WAY
ISSUER SERVICES                                                                              Common Stock
                                          EDGEWOOD , NY 11717
                                          US
                                          1000 HARBOR BLVD
                                          5TH FLOOR
GREGORY CONTALDI                                                                             Common Stock
                                          WEENHAWKEN , NJ 07086
                                          US
                                          1000 HARBOR BLVD
                                          5TH FLOOR
GREGORY CONTALDI                                                                             Common Stock
                                          WEENHAWKEN , NJ 07086
                                          US
                                          901 SOUTH BOND ST
                                          6TH FL
MICHELLE FORD                                                                                Common Stock
                                          BALTIMORE, MD 21231
                                          US
                                          200 BLUR STREET EAST NORTH TOWERS
                                          6TH FLOOR
MANULIFE ASSET MANAGEMENT, LTD                                                               Common Stock
                                          TORONTO, ON M4W 1E5
                                          CANADA
                                          1300 THAMES ST
                                          6TH FLOOR
JOHN BARRY                                                                                   Common Stock
                                          BALTIMORE, MD 21231
                                          US
                                          70 HUDSON STREET
                                          7TH FLOOR
GIOVANNA LAURELLA                                                                            Common Stock
                                          JERSEY CITY, NJ 07302
                                          US
                                          C/O MEDIANT COMMUNICATION
                                          8000 REGENCY PARKWAY
ISSUER SERVICES                                                                              Common Stock
                                          CARY, NC 27518
                                          US
                                          8180 GREENSBORO DRIVE
                                          8TH FLOOR
ASHLEY THEOBALD                                                                              Common Stock
                                          MCLEAN , VA 22102
                                          US
                                          ONE M&T PLAZA
                                          8TH FLOOR
TONY LAGAMBINA                                                                               Common Stock
                                          BUFFALO , NY 14203
                                          US
                                          1166 AVENUE OF THE AMERICAS
                                          9TH FLOOR
D.E. SHAW & COMPANY, L.P.                                                                    Common Stock
                                          NEW YORK, NY 10036
                                          US
                                          1201 MAIN STREET
                                          9TH FLOOR
SHARON BROWN                                                                                 Common Stock
                                          DALLAS , TX 75202
                                          US
                                          525 WASHINGTON BLVD
                                          9TH FLOOR
RONALD PERSAUD                                                                               Common Stock
                                          JERSEY CITY , NJ 07310
                                          US
                                          525 WASHINGTON BLVD
                                          9TH FLOOR
RUSSELL YAP                                                                                  Common Stock
                                          JERSEY CITY , NJ 07310
                                          US
                                          801 S CANAL STREET
                                          ATTN: CAPITAL STRUCTURES-C1N
RYAN CHISLETT                                                                                Common Stock
                                          CHICAGO , IL 60607
                                          US
                                          3801 CITIBANK CENTER
                                          B/3RD FLOOR/ZONE 12
PAUL WATTERS                                                                                 Common Stock
                                          TAMPA , FL 33610
                                          US
                                          1 NORTH LEXINGTION AVE
                                          C/O RIDGE
ANITA BACTAWAR                                                                               Common Stock
                                          WHITE PLAINS, NY 10601
                                          US
                                          500 STANTON CHRISTIANA ROAD, OPS 4
                                          FLOOR: 03
JOHN FAY                                                                                     Common Stock
                                          NEWARK, DE 19713-2107
                                          US
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                                            500 STANTON CHRISTIANA ROAD, OPS 4
                                            FLOOR 02
SACHIN GOYAL                                                                                   Common Stock
                                            NEWARK , DE 19713-2107
                                            US
                                            500 STANTON CHRISTIANA ROAD, OPS 4
                                            FLOOR 02
SACHIN GOYAL                                                                                   Common Stock
                                            NEWARK , DE 19713
                                            US
                                            7033 LOUIS STEVENS DRIVE
                                            GLOBAL PROXY SERVICES
ANTHONY MILO                                                                                   Common Stock
                                            RESEARCH TRIANGLE PARK , NC 27560
                                            US
                                            2801 MARKET STREET
                                            H0006-09B
MATT BUETTNER                                                                                  Common Stock
                                            ST. LOUIS , MO 63103
                                            US
                                            GATEWAY 1 MACQUARIE PLACE
                                            LEVEL 43
DFA AUSTRALIA, LTD                                                                             Common Stock
                                            SYDNEY, NSW 2000
                                            AUSTRALIA
                                            5001 KINGSLEY DRIVE
                                            MAIL DROP 1MOB2D
LANCE WELLS                                                                                    Common Stock
                                            CINCINNATI , OH 45227
                                            US
                                            8800 TINICUM BLVD
                                            MAILSTOP F6-F266-02-2
JUANITA NICHOLS                                                                                Common Stock
                                            PHILADELPHIA , PA 19153
                                            US
                                            AD. D. JOAO II
                                            N.49
DEAN GALLI                                                                                     Common Stock
                                            LISBON , 1988-028
                                            PORTUGAL
                                            501 N BROADWAY
                                            ONE FINANCIAL PLAZA
CHRIS WIEGAND                                                                                  Common Stock
                                            ST LOUIS , MO 63102
                                            US
                                            1 FIRST CANADIAN PLACE 13TH FL
                                            P. 0. BOX 150
LOUISE TORANGEAU                                                                               Common Stock
                                            TORONTO, ON M5X 1H3
                                            CANADA
                                            200 BAY STREET, 6TH FLOOR
                                            ROYAL BANK PLAZA NORTH TOWER
KAREN OLIVERES                                                                                 Common Stock
                                            TORONTO, ON M5J 2W7
                                            CANADA
                                            5022 GATE PARKWAY
                                            SUITE 100
SARA BATTEN                                                                                    Common Stock
                                            JACKSONVILLE , FL 32256
                                            US
                                            2 PERIMETER PARK SOUTH
                                            SUITE 100W
KEN SIMPSON                                                                                    Common Stock
                                            BIRMINGHAM , AL 35243
                                            US
                                            1060 UNIVERSITY STREET
                                            SUITE 101
VERONIQUE LEMIEUX                                                                              Common Stock
                                            MONTREAL, PQ H5B 5L7
                                            Canada
                                            1700 PACIFIC AVENUE
                                            SUITE 1400
BILIANA STOIMENOVA                                                                             Common Stock
                                            DALLAS , TX 75201
                                            US
                                            660 S. FIGUEROA STREET
                                            SUITE 1450
KEVIN MURPHY                                                                                   Common Stock
                                            LOS ANGELES , CA 90017
                                            US
                                            525 WILLIAM PENN PLACE
                                            SUITE 153-0400
JENNIFER MAY                                                                                   Common Stock
                                            PITTSBURGH , PA 15259
                                            US
                                            3501 QUADRANGLE BLVD
                                            SUITE 200
HOWARD FLAXER                                                                                  Common Stock
                                            ORLANDO , FL 32817
                                            US
                                            8006 DISCOVERY DRIVE
                                            SUITE 200
JESSE W. SPROUSE                                                                               Common Stock
                                            RICHMOND , VA 23229
                                            US
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                                                    400 1ST STREET SOUTH
                                                    SUITE 300
ANGELA HANDELAND                                                                                     Common Stock
                                                    ST. CLOUD , MN 56301
                                                    US
                                                    1555 N RIVERCENTER DRIVE
                                                    SUITE 302
STEPHANIE KAPTA                                                                                      Common Stock
                                                    MILWAUKEE , WI 53212
                                                    US
                                                    1201 ELM STREET
                                                    SUITE 3500
RHONDA JACKSON                                                                                       Common Stock
                                                    DALLAS , TX 75270
                                                    US
                                                    50 FREMONT STREET
                                                    SUITE 3900
MELLON INVESTMENTS CORPORATION                                                                       Common Stock
                                                    SAN FRANCISCO, CA 94105
                                                    US
                                                    9300 UNDERWOOD AVENUE
                                                    SUITE 400
ANH MECHALS                                                                                          Common Stock
                                                    OMAHA, NE 68114
                                                    US
                                                    8050 SW 10TH STREET
                                                    SUITE 400
DAVID BIALER                                                                                         Common Stock
                                                    PLANTATION , FL 33324
                                                    US
                                                    TWO PRUDENTIAL PLAZA - 180 NORTH STETSON AVE
                                                    SUITE 5500
ADVISORY RESEARCH, INC.                                                                              Common Stock
                                                    CHICAGO, IL 60601
                                                    US
                                                    3500 LACEY ROAD
                                                    SUITE 700
INVESCO CAPITAL MANAGEMENT, LLC                                                                      Common Stock
                                                    DOWNERS GROVE, IL 60515
                                                    US
                                                    1200 LANDMARK CENTER
                                                    SUITE 800
LUKE HOLLAND                                                                                         Common Stock
                                                    OMAHA, NE 68102
                                                    US
                                                    175 W. JACKSON BLVD
                                                    SUITE400
KIM VILARA                                                                                           Common Stock
                                                    CHICAGO , IL 60605
                                                    US
                                                    100 VANGUARD BOULEVARD
                                                    V26
THE VANGUARD GROUP, INC.                                                                             Common Stock
                                                    MALVERN, PA 19355
                                                    US
                                                    1010 DE LA GAUCHETIERE
ANNA MEDEIROS                                       MONTREAL, BC H3B 5J2                             Common Stock
                                                    CANADA
                                                    400 HOWARD STREET
BLACKROCK FUND ADVISORS                             SAN FRANCISCO, CA 94105                          Common Stock
                                                    US
                                                    156 SOUTH FIRST STREET
BML CAPITAL MANAGEMENT, LLC                         ZIONSVILLE, IN 46077                             Common Stock
                                                    US
                                                    ONE CORPORATE CENTER
GAMCO ASSET MANAGEMENT, INC.                        RYE, NY 10580-1422                               Common Stock
                                                    US
                                                    270 PARK AVENUE
J.P. MORGAN INVESTMENT MANAGEMENT, INC.             NEW YORK, NY 10017-2014                          Common Stock
                                                    US
                                                    90 HUDSON STREET
LORD, ABBETT & CO., LLC (ASSET MANAGEMENT)          JERSEY CITY, NJ 07302-3973                       Common Stock
                                                    US
                                                    50 SOUTH LASALLE STREET
NORTHERN TRUST INVESTMENTS, INC.                    CHICAGO, IL 60603-1008                           Common Stock
                                                    US
                                                    STATE STREET FINANCIAL CENTER
                                                    ONE LINCOLN STREET
STATE STREET GLOBAL ADVISORS (SSGA)                                                                  Common Stock
                                                    33RD FLOOR
                                                    BOSTON, MA 02111-2900
                                                    100 EAST PRATT STREET
T. ROWE PRICE ASSOCIATES, INC.                      BALTIMORE, MD 21202                              Common Stock
                                                    US
                                                    1200 HARBOR BOULEVARD
UBS FINANCIAL SERVICES, INC. (INVESTMENT ADVISOR)   WEEHAWKEN, NJ 07086                              Common Stock
                                                    US
                                                    14551 MERAVI DRIVE
WILEN MANAGEMENT COMPANY, INC.                                                                       Common Stock
                                                    BONITA SPRINGS, FL 34135
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                                           1114 WOODBERRY DR
DAVID DEMARZO                              MOUNTIAN TOP, PA 18707-9273                         Common Stock
                                           US
                                           KM 5 5 BLVD LOPEZ MATEOS CENTRO INDUSTRIAL MARGAR
FABRICA DE PAPEL SAN FRANCISCO S A DE CV   MEXICALI BAJA CALIFORNIA,                           Common Stock
                                           MEXICO
                                           4 S BRISA FRESCA
DOUGLAS E HAILEY                           SANTA FE, NM 87506-0101                             Common Stock
                                           US
                                           BOX 271
THE JOHNSON REVOCABLE TRUST                YUBA CITY, CA 95992-0271                            Common Stock
                                           US
                                           1345 S 442
CHARLES E SEELY                            SALINA, OK 74365-2483                               Common Stock
                                           US
                                           525 WASHINGTON BLVD
JERRY TRAVERS                              JERSEY CITY, NJ 07310                               Common Stock
                                           US
                                           201 PROGRESS PARKWAY
ELIZABETH ROLWES                           MARYLAND HEIGHTS , MO 63043-3042                    Common Stock
                                           US
                                           14321 N. NORTHSIGHT BOULEVARD
BEN BEGUIN                                 SCOTTSDALE , AZ 85260                               Common Stock
                                           US
                                           300 VESEY STREET
SCOTT GIAIMO                               NEW YORK , NY 10282                                 Common Stock
                                           US
                                           645 MADISON AVENUE
HAN LEE                                    NEW YORK, NY 10022                                  Common Stock
                                           US
                                           9785 TOWNE CENTRE DRIVE
KRISTIN KENNEDY                            SAN DIEGO, CA 92121-1968                            Common Stock
                                           US
                                           P.O. BOX 30014
ALAN FERREIRA                              LOS ANGELES, CA 90030                               Common Stock
                                           US
                                           4804 DEAR LAKE DR E
EARL WEEKS                                 JACKSONVILLE , FL 32246                             Common Stock
                                           US
                                           2423 E LINCOLN DRIVE
CHRISTINA YOUNG                            PHOENIX, AZ 85016-1215                              Common Stock
                                           US
                                           200 S 108TH AVE.
SUZANNE BROOD                              OMAHA, NE 68154-2631                                Common Stock
                                           US
                                           1000 HARBOR BLVD
JANE FLOOD                                 WEEHAWKEN , NJ 07086                                Common Stock
                                           US
                                           499 WASHINGTON BOULEVARD
PETER CLOSS                                JERSEY CITY , NJ 07310                              Common Stock
                                           US
                                           499 WASHINGTON BOULEVARD
JOANNE PADARATHSINGH                       JERSEY CITY , NJ 07310                              Common Stock
                                           US
                                           1301 SIXTH AVE
ANTHONY SCIARAFFO                          NEW YORK , NY 10019                                 Common Stock
                                           US
                                           400 JEFFERSON PARK
ANTHONY SCIARAFFO                          WHIPPANY , NJ 07981                                 Common Stock
                                           US
                                           60 S 6TH ST - P09
STEVE SCHAFER SR                           MINNEAPOLIS , MN 55402-4400                         Common Stock
                                           US
                                           8050 SW 10 ST
ANDREA AUGUSTIN                            PLANTATION , FL 33324                               Common Stock
                                           US
                                           60 LIVINGSTON AVE
KEVIN BROWN                                ST. PAUL, MN 55107-1419                             Common Stock
                                           US
                                           480 WASHINGTON BLVD
CHARLES HUGHES                             JERSEY CITY , NJ 07310                              Common Stock
                                           US
                                           480 WASHINGTON BLVD.
PAUL MITSAKOS                              JERSEY CITY , NJ 07310                              Common Stock
                                           US
                                           545 WASHINGTON BLVD.
JANICA BRINK                               JERSEY CITY , NJ 07310                              Common Stock
                                           US
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                                            8 THIRD STREET NORTH
RITA LINSKEY                                GREAT FALLS , MT 59401                             Common Stock
                                            US
                                            34 EXCHANGE PLACE PLAZA II
VICTOR LAU                                  JERSEY CITY , NJ 07311                             Common Stock
                                            US
                                            ONE PERSHING PLAZA
JOSEPH LAVARA                               JERSEY CITY , NJ 07399                             Common Stock
                                            US
                                            77 SUMMER STREET
DIANE TOBEY                                 BOSTON , MA 02110                                  Common Stock
                                            US
                                            388 GREENWICH STREET
ABIGAIL DAVIES                              NEW YORK , NY 10013                                Common Stock
                                            US
                                            8 GREENWICH OFFICE PARK
KARIN MCCARTHY                              GREENWICH , CT 06831                               Common Stock
                                            US
                                            85 BROAD STREET
OSCAR MAZARIO                               NEW YORK , NY 10004                                Common Stock
                                            US
                                            880 CARILION PARKWAY
ROBERTA GREEN                               SAINT PETERSBURG , FL 33716                        Common Stock
                                            US
                                            682 AMP FINANCIAL CENTER
ERIN M STIELER                              MINNEAPOLIS , MN 55474                             Common Stock
                                            US
                                            901 3RD AVE SOUTH
GREG WRAALSTAD                              MINNEAPOLIS , MN 55474                             Common Stock
                                            US
                                            1776 HERITAGE DR
JERRY PARRILLA                              NORTH QUINCY , MA 02171                            Common Stock
                                            US
                                            1776 HERITAGE DR
CHRISTINE SULLIVAN                          NORTH QUINCY , MA 02171                            Common Stock
                                            US
                                            33 CANNON STREET
NATHAN ASHWORTH                             LONDON, EC4M 5SB                                   Common Stock
                                            UK
                                            ONE FREEDOM VALLEY DRIVE
ERIC GREENE                                 OAKS , PA 19456                                    Common Stock
                                            US
                                            525 WILLIAM PENN PLACE
JENNIFER MAY                                PITTSBURGH , PA 15259                              Common Stock
                                            US
                                            1776 HERITAGE DRIVE
KAREN T JOHNDROW                            NORTH QUINCY, MA 02171                             Common Stock
                                            US
                                            1 FREEDOM VALLEY DRIVE
DIANA MASON                                 OAKS , PA 19456                                    Common Stock
                                            US
                                            1776 HERITAGE DRIVE
MYRIAM PIERVIL                              NORTH QUINCY , MA 02171                            Common Stock
                                            US
                                            1776 HERITAGE DRIVE
JERRY PARRILLA                              NORTH QUINCY , MA 02171                            Common Stock
                                            US
                                            1776 HERITAGE DRIVE
TRINA ESTREMERA                             NORTH QUINCY , MA 02171                            Common Stock
                                            US
                                            22 FRONT STREET
RODERICK ROOPSINGH                          TORONTO, ON M5J 2W5                                Common Stock
                                            CANADA
                                            131 SOUTH DEARBORN STREET
RACHEL GALDONES                             CHICAGO , IL 60603                                 Common Stock
                                            US
                                            1301 SIXTH AVE
ANTHONY SCIARAFFO                           NEW YORK , NY 10019                                Common Stock
                                            US
                                            4804 DEERLAKE DR. E.
EARL WEEKS                                  JACKSONVILLE , FL 32246                            Common Stock
                                            US
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
ORCHIDS PAPER PRODUCTS COMPANY,
et al.,1                                                   Case No. 19-______ (___)

                 Debtors.                                  (Joint Administration Pending)


      CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
         FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007AND 7007.1

        Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the above-captioned debtors and debtor in possession (collectively, the “Debtors”) attach hereto
as Exhibit A an organizational chart reflecting all of their ownership interests. The Debtors
respectfully represent as follows:

      1.     To the best of the Debtors’ knowledge and belief, no person or entity directly
owns 10% or more of the equity interests of Orchids Paper Products Company.

        2.      Orchids Paper Products Company owns one hundred percent (100%) of the equity
interests of Orchids Paper Products Company of South Carolina.

        3.      Orchids Paper Products Company owns one hundred percent (100%) of the equity
interests of Orchids Lessor SC, LLC.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Orchids Paper Products Company, a Delaware corporation (6944), Orchids Paper Products Company of
South Carolina, a Delaware corporation (7198), and Orchids Lessor SC, LLC, a South Carolina limited liability
company (7298). The location of the Debtors’ mailing address is 201 Summit View Drive, Suite 110, Brentwood,
Tennessee 37027.


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                                  EXHIBIT A

                             (Organizational Chart)




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                                                       Orchids Paper Products Company
                                                             Entity Organizational Chart

                                                          Orchids Paper Products Company
                                                                       (DE)*




 Orchids Paper Products              Orchids Lessor SC,                                       Orchids Mexico DE
Company of South Carolina                   LLC                                                 Holdings, LLC
         (DE)*                             (SC)*                                                     (DE)



                                                                                                           - 100% of Series B
                                                                          Orchids Mexico DE                - 99.99% of Series A
                                                                            Member, LLC
                                                                                 (DE)


                                                                     < 1% of Series A

    *Entity will file as a debtor in the chapter 11 cases.                                 OPP Acquisition Mexico, S.
                                                                                            de R.L. de C.V. (Mexico)




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                         ORCHIDS PAPER PRODUCTS COMPANY

              Action by Unanimous Written Consent of the Board of Directors
                               Effective March 31, 2019


       The undersigned, being all of the members of the Board of Directors (the “Board”) of
Orchids Paper Products Company, a Delaware corporation (the “Company”), hereby adopt the
following resolutions by written consent pursuant to Section 23 of the Amended and Restated
Bylaws of the Company (as amended, the “Bylaws”) and Section 141(f) of the Delaware General
Corporation Law.

        WHEREAS, the Company and its subsidiaries are engaged in the business of, directly or
indirectly, producing bulk tissue paper and converting and manufacturing such bulk tissue paper
into consumer tissue products for sale and distribution (the “Business”);

       WHEREAS, the Board has considered presentations by management and the financial
and legal advisors of the Company regarding the liabilities and liquidity situation of the
Company, the strategic alternatives available to it and the effect of the foregoing on the
Company’s business;

        WHEREAS, the Board has had the opportunity to consult with the management and the
financial and legal advisors of the Company and fully consider each of the strategic alternatives
available to the Company; and

        WHEREAS, following a lengthy exploration and evaluation of strategic options with the
assistance of the Company’s legal, financial, and other advisors, the Board has concluded that,
based on information currently available to the Board, but subject to the right to determine an
alternative course of action is preferable, it is in the best interests of the Company, its creditors,
and its equity holders to enter into a transaction (the “Transaction”) pursuant to which the
Company would transfer substantially all of the assets and liabilities which are directly related
to, necessary for, used in connection with or incurred in connection with the Business to Orchids
Investment LLC, a Delaware limited liability company (in such capacity, the “Purchaser”), or its
designees, in accordance with Sections 105, 363, and 365 of Chapter 11 of Title 11 of the United
States Code (the Bankruptcy Code”) and pursuant to and in accordance with the terms and
conditions of an Asset Purchase Agreement by and between the Purchaser, the Company and
certain subsidiaries of the Company substantially in the form attached hereto as Exhibit A
(the “Purchase Agreement”) and related Option Agreement substantially in the form attached
hereto as Exhibit B (the “Option Agreement”), subject to higher and better bids, if any, at an
auction to be conducted pursuant to bidding procedures approved by the Bankruptcy Court (as
defined below).

I.       CHAPTER 11 FILING

       NOW, THEREFORE, IT IS RESOLVED, that in the judgment of the Board it is
desirable and in the best interests of the Company to appoint Richard S. Infantino of Deloitte
Transactions and Business Analytics LLP to serve as interim chief strategic officer (the “Interim
Chief Strategy Officer”) of the Company; and it is


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        RESOLVED FURTHER, that in the judgment of the Board, it is desirable and in the
best interests of the Company, that the Company shall be, and hereby is, authorized to file or
cause to be filed voluntary petitions for relief for the Company and each of the Company’s
subsidiaries (each affiliate is listed on the attached Schedule 1 and collectively referred to herein
as the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy Court”); and it
is

        RESOLVED FURTHER, that the Chief Executive Officer, Interim Chief Strategy
Officer, and any officer of the Company (collectively, the “Authorized Officers”), acting alone
or with one or more other Authorized Officers be, and they hereby are, authorized, empowered
and directed to execute and file on behalf of the Company all petitions, schedules, lists and other
motions, papers, or documents, and to take any and all action that they deem necessary or proper
to obtain such relief, including, without limitation, any action necessary to maintain the ordinary
course operation of the Business; and it is

         RESOLVED FURTHER, that the Authorized Officers, acting alone or with one or more
other Authorized Officers, be, and they hereby are, authorized, empowered and directed to
certify the authenticity of these resolutions.

II.      RETENTION OF PROFESSIONALS

       RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the law firm of Polsinelli PC as general bankruptcy counsel to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Company’s rights and obligations, including filing any
pleadings; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Polsinelli PC; and it is

        RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of Deloitte Transactions and Business Analytics LLP
to assist the Interim Chief Strategy Officer and the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Officers are, with power of
delegation, hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Deloitte Transactions and Business Analytics LLP; and it is

       RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ the firm of Houlihan Lokey Capital, Inc. as investment banker
and financial advisor to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all action to advance the Company’s right and obligations;
and in connection therewith, each of the Authorized Officers, with power of delegation, are
hereby authorized and directed to execute appropriate retention agreements, pay appropriate



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retainers, and to cause to be filed an appropriate application for authority to retain the services of
Houlihan Lokey Capital, Inc.; and it is

        RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ Prime Clerk LLC as notice, claims, and balloting agent and as
administrative advisor to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations; and in connection therewith, each of the Authorized Officers, with power of
delegation, are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of Prime Clerk LLC; and it is

        RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Officers, with power of delegation, are hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary; and it is

       RESOLVED FURTHER, that each of the Authorized Officers be, and they hereby are,
with power of delegation, authorized, empowered and directed to execute and file all petitions,
schedules, motions, lists, applications, pleadings, and other papers and, in connection therewith,
to employ and retain all assistance by legal counsel, accountants, financial advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the
Authorized Officers deem necessary, proper, or desirable in connection with the Chapter 11
Cases, with a view to the successful prosecution of such cases.

III.     CASH COLLATERAL AND ADEQUATE PROTECTION

        RESOLVED FURTHER, that the Company will obtain benefits from the use of
collateral, including cash collateral, as that term is defined in Bankruptcy Code section 363(a)
(the “Collateral”), which is security for Orchids Investment LLC, a Delaware limited liability
company, as Lender, and Ankura Trust Company, as Administrative Agent (collectively, the
“Prepetition Secured Parties”), as set forth in that certain Second Amended and Restated Credit
Agreement, dated as of June 25, 2015 (as amended, modified, or supplemented from time to
time, the “Credit Agreement”); and it is

        RESOLVED FURTHER, that to use and obtain the benefits of the Collateral and in
accordance with Bankruptcy Code section 363, the Company will provide certain adequate
protection to the Prepetition Secured Parties (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “Cash Collateral Order”) and submitted for
approval to the Bankruptcy Court, provided, for the avoidance of doubt, that the Company’s
subsidiary and party to the Chapter 11 Cases, Orchids Lessor SC, LLC (“Orchids SC”), is not
providing such adequate protection to the Prepetition Secured Parties and shall not be party to
the Cash Collateral Documents, the Adequate Protection Documents, or the Adequate Protection
Transactions (each as defined below); and it is



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        RESOLVED FURTHER, that the form, terms and provisions of the Cash Collateral
Order to which the Company is or will be subject, and the actions and transactions contemplated
thereby be, and hereby are authorized, adopted and approved, and each of the Authorized
Officers of the Company be, and they hereby are, authorized and empowered, in the name of and
on behalf of the Company, to take such actions and negotiate or cause to be prepared and
negotiated and to execute, deliver, perform, and cause the performance of, the Cash Collateral
Order, and such other agreements, certificates, instruments, receipts, petitions, motions or other
papers or documents to which the Company is or will be a party (collectively with the Cash
Collateral Order, the “Cash Collateral Documents”), incur and pay or cause to be paid all fees
and expenses and engage such persons, in each case, in the form or substantially in the form
thereof submitted to the Directors, with such changes, additions, and modifications thereto as the
officers of the Company executing the same shall approve, such approval to be conclusively
evidenced by such officers’ execution and delivery thereof; and it is

        RESOLVED FURTHER, that the Company, as debtor and debtor-in-possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations
(as set forth in the Cash Collateral Order) and to undertake any and all related transactions on
substantially the same terms as contemplated under the Cash Collateral Documents (collectively,
the “Adequate Protection Transactions”); and it is

        RESOLVED FURTHER, that the Authorized Officers of the Company be, and they
hereby are, authorized and directed, and each of them acting alone hereby is, authorized,
directed, and empowered in the name of, and on behalf of, the Company, as debtor and debtor in
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate and execute the Adequate Protection Transactions, including delivery of: (a) the
Cash Collateral Documents and such agreements, certificates, instruments, guaranties, notices
and any and all other documents, including, without limitation, any amendments to any Cash
Collateral Documents (collectively, the “Adequate Protection Documents”); (b) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the Prepetition Secured Parties; and (c) such forms of deposit, account control agreements,
officer’s certificates and compliance certificates as may be required by the Cash Collateral
Documents or any other Adequate Protection Document; and it is

        RESOLVED FURTHER, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on behalf of the Company in connection
with the foregoing resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in their sole judgment be necessary, proper or advisable to perform the
Company’s obligations under or in connection with the Cash Collateral Order or any of the other
Adequate Protection Documents and the transactions contemplated therein and to carry out fully
the intent of the foregoing resolutions; and it is

       RESOLVED FURTHER, that each of the Authorized Officers of the Company be, and
they hereby are, authorized, directed, and empowered in the name of, and on behalf of, the
Company, to execute and deliver any amendments, supplements, modifications, renewals,

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replacements, consolidations, substitutions and extensions of the Cash Collateral Order or any of
the Adequate Protection Documents or to do such other things which shall in their sole judgment
be necessary, desirable, proper, or advisable to give effect to the foregoing resolutions, which
determination shall be conclusively evidenced by their execution thereof.

IV.      DEBTOR-IN-POSSESSION FINANCING

        RESOLVED FURTHER, that the Company, as debtor and debtor-in-possession under
the Chapter 11 Case, shall be, and hereby is, authorized to: (a) undertake any and all transactions
contemplated in the Senior Secured Superpriority Debtor-In-Possession Creditor Agreement (the
“DIP Credit Agreement”) by and among the Company, as Borrower, Black Diamond
Commercial Finance, L.L.C., as Administrative Agent, and Orchids Investment LLC and such
other Lenders thereto (collectively, the “DIP Lenders”), on substantially the terms and subject to
the conditions described to the Board and as set forth in the DIP Credit Agreement substantially
in the form attached hereto as Exhibit C or as may hereafter be fixed or authorized by each of the
Authorized Officers (and their designees and delegates), acting alone or with one or more other
Authorized Officers; (b) borrow funds from and undertake any and all related transactions
contemplated thereby (collectively, the “Financing Transactions” and each such transaction a
“Financing Transaction”) with the DIP Lenders and on such terms as may be approved by any
one or more of the Authorized Officers, as reasonably necessary for the continuing conduct of
the affairs of the Company; (c) execute and deliver and cause the Company to incur and perform
its obligations under the DIP Credit Agreement and Financing Transactions; (d) finalize the DIP
Credit Agreement and Financing Transactions, consistent in all material respects with those that
have been presented to and reviewed by the Board; and (e) pay related fees and grant security
interests in and liens upon some, any or all of the Company’s assets, as may be deemed
necessary by any one or more of the Authorized Officers in connection with such Financing
Transactions, provided, for the avoidance of doubt, that Orchids SC shall not be a party to the
Financing Transactions or any of the DIP Loan Documents or the DIP Financing Documents
(each as defined below); and it is

        RESOLVED FURTHER, that each of the Authorized Officers (and their designees and
delegates), acting alone or with one or more other Authorized Officers be, and they hereby are,
authorized, directed, and empowered in the name of, and on behalf of, the Company, as debtor
and debtor-in-possession, to take such actions and negotiate or cause to be prepared and
negotiated and to execute, file, deliver and cause the Company to incur and perform its
obligations under the DIP Credit Agreement and the other “DIP Loan Documents” (as defined in
the DIP Credit Agreement) (collectively, the “DIP Loan Documents”), and all other agreements,
instruments and documents or any amendments thereto or waivers thereunder (including, without
limitation, any amendments, waivers or other modifications of any of the DIP Loan Documents)
that may be contemplated by, or required in connection with, the DIP Credit Agreement, the
other DIP Loan Documents and the Financing Transactions (collectively, the “DIP Financing
Documents”), incur and pay or cause to be paid all fees and expenses and engage such persons,
in each case, as such Authorized Officer shall in his or her judgment determine to be necessary
or appropriate to consummate the transactions contemplated by the DIP Credit Agreement and
the other DIP Loan Documents, which determination shall be conclusively evidenced by his or
her execution or delivery thereof; and it is


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       RESOLVED FURTHER, that the form, terms and provisions of the DIP Credit
Agreement and each of the other DIP Loan Documents to which the Company is a party be, and
the same hereby are in all respects approved, and that any Authorized Officers or other officers
of the Company are hereby authorized and empowered, in the name of and on behalf of the
Company, to execute and deliver and to execute and file the DIP Credit Agreement and each of
the DIP Loan Documents to which the Company is a party, each in the form or substantially in
the form thereof submitted to the Board, with such changes, additions and modifications thereto
as the officers of the Company executing the same shall approve, such approval to be
conclusively evidenced by such officers’ execution and delivery thereof; and it is

        RESOLVED FURTHER, that the Authorized Officers and each other officer of the
Company be, and each of them hereby are, authorized and empowered to authorize the DIP
Lenders to file any UCC financing statements and any necessary assignments for security or
other documents in the name of the Company that the DIP Lenders deem necessary or
appropriate to perfect any lien or security interest granted under the DIP Loan Documents,
including any such UCC financing statement containing a super-generic description of collateral,
such as “all assets,” “all property now or hereafter acquired” and other similar descriptions of
like import, and to execute and deliver, and to record or authorize the recording of, such
mortgages and deeds of trust in respect of real property of the Company and such other filings in
respect of intellectual and other property of the Company, in each case as the DIP Lenders may
reasonably request to perfect the security interests of the DIP Lenders under the DIP Loan
Documents; and it is

        RESOLVED FURTHER, that each of the Authorized Officers be, and hereby are,
authorized and empowered, in consultation with the Board, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions
and extensions of the DIP Credit Agreement or any of the other DIP Loan Documents or any of
the other DIP Financing Documents, and to execute and file on behalf of the Company all
petitions, schedules, lists and other motions, papers or documents, which shall in his or her sole
judgment be necessary, proper or advisable, which determination shall be conclusively
evidenced by his or her execution thereof; and it is

       RESOLVED FURTHER, that the Company will obtain benefits from the incurrence of
the loans and letters of credit under the DIP Credit Agreement as the borrower and the
occurrence and consummation of the Financing Transactions under the DIP Credit Agreement
and the DIP Loan Documents and the transactions under the DIP Financing Documents, which
are necessary and appropriate to the conduct, promotion and attainment of the business of the
Company; and it is

       RESOLVED FURTHER, that that the capitalized terms used in the resolutions under
the caption “Debtor-in-Possession Financing” and not otherwise defined herein shall have the
meanings ascribed to such terms in the DIP Credit Agreement.

V.       ASSET PURCHASE AGREEMENT




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        RESOLVED FURTHER, that the form, terms, and provisions of the Asset Purchase
Agreement and Option Agreement, including all exhibits, schedules, and ancillary documents
thereto, be, and hereby are, approved; and it is

        RESOLVED FURTHER, that the Authorized Officers be, and they hereby are,
authorized and empowered to execute and deliver the Asset Purchase Agreement and Option
Agreement, including all exhibits and schedules attached thereto, in the name and on behalf of
the Company with such additions, deletions or changes therein (including, without limitation,
any additions, deletions or changes to any schedules or exhibits thereto) as the Authorized
Officer executing the same shall approve (the execution and delivery thereof by any such
Authorized Officer to be conclusive evidence of his or her approval of any such additions,
deletions or changes); and it is

        RESOLVED FURTHER, that the Company be, and hereby is, authorized to perform all
of its obligations under the Asset Purchase Agreement and Option Agreement, including, but not
limited to, the Transaction; and it is

        RESOLVED FURTHER, that the Authorized Officers be, and they hereby are,
authorized and empowered to take all such further action and to execute and deliver all such
further agreements, certificates, instruments and documents, in the name and on behalf of the
Company, to pay or cause to be paid all expenses; to take all such other actions as they or any
one of them shall deem necessary, desirable, advisable or appropriate to consummate, effectuate,
carry out or further the transactions contemplated by and the intent and purposes of the foregoing
resolutions.

VI.      GENERAL

        RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Officers, each of the Authorized Officers (and their designees and
delegates) be, and they hereby are, authorized and empowered, in the name of and on behalf of
the Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver, and file any and all such agreements, certificates, instruments,
and other documents and to pay all expenses, including but not limited to filing fees, in each case
as in such officer’s or officers’ judgment, shall be necessary, advisable or desirable in order to
fully carry out the intent and accomplish the purposes of the resolutions adopted herein; and it is

        RESOLVED FURTHER, that all members of the Board have received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the organizational documents of the Company, or hereby waive any right
to have received such notice; and it is

        RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,



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transaction, agreement or certificate has been specifically authorized in advance by resolution of
the Board; and it is

        RESOLVED FURTHER, that each of the Authorized Officers (and their designees and
delegates) be and hereby are authorized and empowered to take all actions or to not take any
action in the name of the Company with respect to the transactions contemplated by these
resolutions hereunder as the sole stockholder, member, or managing member of each direct
subsidiary of the Company, in each case, as such Authorized Officer shall deem necessary or
desirable in such Authorized Officers’ reasonable business judgment as may be necessary or
appropriate to effectuate the purposes of the transactions contemplated herein.

        This Consent may be signed in one or more counterparts, each of which shall be deemed
an original, and all of which shall constitute one instrument.

                         [Remainder of Page Intentionally Left Blank]




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Pete Vincent

From:                           Donald Figliulo
Sent:                           Sunday, March 31, 2019 10:15 AM
To:                             Jerry Switzer; Pete Vincent
Subject:                        Fwd: Project Odyssey - Board Resolutions re Chp 11 Transaction
Attachments:                    image001.jpg; ATT00001.htm; Project Odyssey - Board Approval Sig Page-c.pdf;
                                ATT00002.htm; # 67456127 v 8 (Project Odyssey - Resolutions re Chp 11 Transaction)-
                                c.DOCX; ATT00003.htm; Orchids - Director Signature Pages (10-K 2019)-c.pdf;
                                ATT00004.htm




Sent From my IPhone




Begin forwarded message:

       From: John Guttilla
       Date: March 31, 2019 at 10:01:55 AM CDT
       To: 'Donald Figliulo'
       Subject: RE: Project Odyssey - Board Resolutions re Chp 11 Transaction

       Don …I have sign these Documents and will send you copies Monday


       John Guttilla
       Partner




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Pete Vincent

From:                              Mark Ravich
Sent:                              Sunday, March 31, 2019 9:55 PM
To:                                Donald Figliulo
Cc:                                Steve Berlin;                     ; LLC Taglich Private Equity                     ;
                                   Elaine MacDonald (                                  ); Jeffrey S Schoen;
                                                           ; Jerry Switzer; Pete Vincent
Subject:                           Re: Project Odyssey - Board Resolutions re Chp 11 Transaction


I consent to all the filings.
Mark Ravich

Sent from my iPhone

On Mar 30, 2019, at 3:30 PM, Donald Figliulo <                            > wrote:

         Here is the execution version of the Board consent (i) authorizing the Chapter 11 filing and related
         matters, (ii) approving the form of Asset Purchase Agreement and related Option Agreement , and (iii)
         approving the DIP loan agreement.

         The second attachment is a stand-alone signature page to the Agreement . Please sign and return that
         page to me at your earliest convenience.

         Please also send me your signature to the 10-K report.

         Thank you and please drop me a note if you have any questions.




         This electronic mail message contains CONFIDENTIAL information which is (a) ATTORNEY - CLIENT
         PRIVILEGED COMMUNICATION, WORK PRODUCT, PROPRIETARY IN NATURE, OR OTHERWISE
         PROTECTED BY LAW FROM DISCLOSURE, and (b) intended only for the use of the Addressee(s)
         named herein. If you are not an Addressee, or the person responsible for delivering this to an Addressee,
         you are hereby notified that reading, copying, or distributing this message is prohibited. If you have
         received this electronic mail message in error, please reply to the sender and take the steps necessary to
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                                         SCHEDULE 1

             Orchids Paper Products Company of South Carolina, a Delaware corporation

                Orchids Lessor SC, LLC, a South Carolina limited liability company




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                                  EXHIBIT A

                    FORM OF ASSET PURCHASE AGREEMENT

                             [withheld for this filing]




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                                   EXHIBIT B

                        FORM OF OPTION AGREEMENT

                             [withheld for this filing]




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                                  EXHIBIT C

                       FORM OF DIP CREDIT AGREEMENT

                             [withheld for this filing]




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